     Case: 1:17-cv-08310 Document #: 1 Filed: 11/16/17 Page 1 of 17 PageID #:1
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                     IN THE UNITED STATES DISTRICT COURT
                                                                           FILET)
                    FOR THE NORTHERN DISTRICT OF ILLINOIS                        No\, 16n11       eil
                                                                            THOMAS G. BRUTON
UNITED STATES OF AMERICA AND                                              CLERK, U.S. DISTRICT COURT
THE STATE OF ILLINOIS, ex rel.
SHANNAN MARIE BYBEE
                                                  CASE NO.
             Plaintiffs,                          F'ILED IN CAMERA
                                                  AND UNDER SEAL
                                                  DEMAND FOR JURY TRIAL
             vs.
CONTINENTAL NURSING AND
REHABILITATION CENTER, LLC, )
                                              1:17+v48310
INFINITY HEALTHCARE          )
                                              Judge Ruben Castillo
MANAGEMENT OF ILLINOIS LLC )                  Magisffie Judge Daniel G. tartin
MIDWAY NEUROLOGICAL AND      )
REHABILITATION CENTER, LLC, )
CITY VIEW MULTICARE CENTER, )
LLC, MOISHE GUBIN, MICHAEL )
BLISKO, and UNKNOWN EMPLOYEES)
             Defendants.

                                       COMPLAINT

       Plaintiffs UNITED STATES OF AMEzuCA and the STATE OF ILLINOIS, by the

Relator, SHANNAN BYBEE (the "Relator"), through her attorney, Alon Stein of STEIN LAW

OFFICES,    for their Complaint against    Defendants CONTINENTAL NURSING AND

REHABILITATION CENTER, LLC; INFINITY HEALTHCARE                  MANAGEMENT                 OF

ILLINOIS LLC; MIDWAY NEUROLOGICAL AND REHABILITATION CENTER, LLC,

CITY VIEW MULTICARE CENTER, LLC, MOISHE GUBIN, MICHAEL BLISKO                              ANd


UNKOWN EMPLOYEES ("Defendants"), state as follows.

                                     INTRODUCTION

       l.    This is an action for statutory damages and civil penalties under the False Claims

Act, 31 U.S.C, 53729-3733, and the Illinois False Claims Act, formerly known as the Illinois

Whistleblower Reward and Protection Act (the "Act"),740 ILCS, Sl75/1 et seq., as well as for
     Case: 1:17-cv-08310 Document #: 1 Filed: 11/16/17 Page 2 of 17 PageID #:2




damages arising out of Defendants' unjust enrichment.

        2.      Congress developed      the   Preadmission Screening         and Resident Review
("PASRR") program to ensure that admission and retention of people in nursing care facilities is

appropriate, as part of the Omnibus Budget Reconciliation Act of 1987 commonly referred to as

OBRA. Federal Medicaid law and regulations require states, such as Illinois to have a PASRR

program to determine whether nursing facility applicants and residents meet nursing facility level

ofcare and/or require specialized services.

        3.      For a state to have its Medicaid plan approved by the Centers for Medicare and

Medicaid Services (CMS), it must maintain a PASSR program that complies with the relevant

federal laws and regulations. Everyone who applies for admission to a nursing facility, regardless

of payer, must be screened for evidence of serious mental illness, and/or intellectual disabilities,

developmental disabilities, or related conditions. That is a Level I screen.

        4.      A nursing facility must not admit an applicant and expect to receive public         aid

unless, an independent third party evaluator, which         in Illinois is the Illinois   Department of

Human Services ("DHS"), has determined whether the individual needs the level of services that

a nursing   facility provides, and whether individuals who need nursing facility services also need

high-intensity specialized services. That is a Level   II   screen. Generally speaking, the intent   of

PASRR is to ensure that all nursing facility applicants are thoroughly evaluated, that they are

placed in nursing facilities only when appropriate, and that they receive all necessary services

while they are there.

        5.      Medicaid starts the process of payments to the nursing facility on the date that the

screening is completed, and therefore there is an incentive for the nursing facilities to have the

screen dated before the resident arrives at the nursing     facility. Moreover, a Medicaid beneficiary
      Case: 1:17-cv-08310 Document #: 1 Filed: 11/16/17 Page 3 of 17 PageID #:3




needs to be screened or Medicaid      will not pay the nursing facility   because an unscreened person

is ineligible for services in a nursing facility.

         6.      The complaints of Relator generally are that Defendants have billed, and continue

to bill, Medicare and Illinois Medicaid when, in fact, Defendants did not properly conduct           an


appropriate third-parfy screening      to determine   if   nursing home care is appropriate. Instead,

Defendants routinely forged and/or altered signatures on the Illinois Department of Public Aid

screening documents, or otherwise improperly altered them, and submitted the forged and/or

altered documents to Medicaid to improperly obtain public aid.

                                   JURISDICTION AND VENUE

         7.      This Court has jurisdiction under 28 U.S.C. S$ 1331 and 1345 and          3l U.S.C. $
3730.

         8.      The Court also has supplemental jurisdiction over the claims brought under the

Illinois False Claims Act, and the various state law and unjust enrichment claims pursuant to        28


U.S.C. $ 1367 and    3l U.S.C. 53732.

         9.      Venue is proper in this district pursuant to 28 U.S.C. $1391, as well as pursuant to

3l U.S.C.   S 3732, since Defendants conduct business        in this District and the acts which are the

subject of this action occurred herein.

                                            THE PARTIES

         6.      Plaintiff, the United States of America, is bringing this action on behalf of the

United States Department of Health and Human Services (hereinafter "HHS"), an agency of the

United States.
      Case: 1:17-cv-08310 Document #: 1 Filed: 11/16/17 Page 4 of 17 PageID #:4




        7.     Plaintiff, the State of Illinois, is bringing this action on behalf of the Illinois

Department of Healthcare and Family Services, formerly the Illinois Department of Public Aid

(hereinafter "Illinois"), an agency of the State of Illinois.

        8.     Relator is a resident of McHenry County, Illinois. She is a citizen of the United

States and brings this action on behalf    of the United States of America and the State of Illinois.

From in or about October 2015 through June 2016, Relator was employed by defendant Infinity

Healthcare Management, Inc. of Hillside Illinois ("Infinity").

        9.     Defendants are in the business of owning, operating and managing skilled nursing

facilities in numerous states, including, Illinois and Indiana. The Defendant nursing facilities are

predominately owned by defendants Moishe Gubin, and Michael Blisko through the defendant

entities. Defendants Gubin and Blisko are behind the decisions of the entity Defendants and are

aware of the admissions process.

         10.    Relator was the Director of Business Development for Infinity for Illinois, and

was charged with implementing programs and campaigns aimed at building the census of

Infinity. She worked in at the Hillside, Illinois headquarters of Infinity. As part of her role,

Relator centralized all the admissions for Infinity's Illinois facilities, numbering 14 in total, out

of the Hillside, Illinois headquarters. As such, all admissions decisions regarding every Infinity

resident came through Relator's department, and the department was renamed Infinity PAN.
     Case: 1:17-cv-08310 Document #: 1 Filed: 11/16/17 Page 5 of 17 PageID #:5




              THE MEDICARE AND MEDICAID HEALTH CARE PROGRAMS;
                               OBRA AND PASRR

        1   l. At all relevant times, the United States, through           HHS, has administered the

federally financed health insurance program for persons aged 65 and over or who are disabled

under Title   XVIII of the Social Security Act, 42 U. S.C., $ 1 3 95, et seq.

        12.      Overall responsibility for the administration of the Medicare program resides with

HHS. Within HHS, the responsibility for program             administration has been delegated to the

Centers for Medicare and Medicaid services ("CMS"), formerly the Health Care Financing and

Administration ("HCFA").

        13.      There are four (4) major parts to the Medicare program:

                          Part A, which is mainly institutional service coverage;

                          Part B, which supplements Part A and covers physician services
                          and other services such as payments for prescription drugs that
                          Part A does not cover;

                          Part C, which is for HMO-type plans for Medicare beneficiaries;
                          and

                          Part D, which is the optional supplement program covering certain
                          prescription drugs, which is the subject of this Complaint.

        14.      Medicare    is   funded   by   premiums paid    by enrolled Medicare beneficiaries,
contributions from the Federal Treasury, and co-payments and/or deductibles for certain items

and services including those relating to prescription drugs. Medicare Part A (Hospital Insurance)

covers skilled nursing care provided            in a skilled nursing facility ("SNF") under certain
conditions for a limited time.

        15.      Title XIX of the Social Security Act sets forth the framework for Medicaid

Programs which are for the aged, blind, disabled and financially disadvantaged. Subject to
     Case: 1:17-cv-08310 Document #: 1 Filed: 11/16/17 Page 6 of 17 PageID #:6




federal approval, each state develops and administers its own Medicaid program and receives a

federal match for expenditures made (ln Illinois, roughly 50%).

        16.      Under OBRA, discussed above, Preadmission Screening and Resident Review

(PASRR) is a federal requirement to help ensure that individuals are not inappropriately placed

in nursing homes for long term care. PASRR requires that l) all applicants to a Medicaid-

certified nursing facility be evaluated for serious mental illness (SMI) and/or intellectual

disability (ID); 2) be offered the most appropriate setting for their needs (in the community,          a


nursing facility, or acute care settings); and 3) receive the services they need in those settings.

         17.     PASRR is an important tool for states to use in rebalancing services away from

institutions and towards supporting people in their homes, and to comply with the Supreme

Court decision, Olmstead vs L.C., 527 U.S. 581 (1999), under the Americans with Disabilities

Act, individuals with disabilities cannot be required to be institutionalized to receive public

benefits that could be furnished in community-based settings. PASRR can also advance person-

centered care planning by assuring that psychological, psychiatric, and functional needs are

considered along with personal goals and preferences in planning long term care.

         18.     The PASRR process requires that all applicants to Medicaid-certified Nursing

Facilities be given a preliminary assessment to determine whether they might have SMI or ID.

This is called a "Level     I   screen." Those individuals who test positive at Level       I   are then

evaluated   in   depth, called "Level   II"   PASRR. The results     of this   evaluation result   in   a


determination of need, determination of appropriate setting, and a set of recommendations for

services to inform the individual's plan of care.
      Case: 1:17-cv-08310 Document #: 1 Filed: 11/16/17 Page 7 of 17 PageID #:7




         19.    All applicants to either   a Medicaid certified nursing facility, regardless of income,

assets, or funding sources, must receive a Preadmission Screen (PAS) and Level        I screening prior

to admission.

         20.    Nursing facilities must not admit any new resident with a serious mental illness

before a PASRR determination is made, which indicates the person requires NF services and

which determines whether the person needs specialized services. No federal payment may be

made for nursing facility services provided to a person with a serious mental illness who has not

been screened and approved for admission.

         21. In addition, in Illinois, 89 Illinois Administrative Code, Chapter I,             Section

140.642, subchapter     (d) (Section 140.642 Screening Assessment for Nursing Facility             and

Alternative Residential Settings and Services) states "Beginning July 1 1996, and individual         18


years of age or older, except those identified in subsection (c) of the Section seeking admission

to a nursing facility licensed under the Nursing Home Care Act (210 ILCS 45) for nursing

facility services must be screened to determine his or her need for those services pursuant to this

Section. . ."

         22.    Without the appropriate required screens, Medicaid will not reimburse a nursing

facility for services to an un-screened resident.

      DEFENDANTS'ILLEGAL ACTIONS IN FORGING AND/OR CUTTTNG AND
         PASTING SIGNATURES OF THIRD.PARTY DHS SCREENERS TO
                        OBTAIN MEDICAID FUNDS

        23.     Relator oversaw a staff for Infinity PAN, including Elizabeth Roman, a woman

who worked for Infinity prior to Relator's hire, and who was previously working at Midway

Neurological and Rehabilitation Center          in Bridgeview, Illinois   before being reassigned to

Infinity PAN.


                                                     7
      Case: 1:17-cv-08310 Document #: 1 Filed: 11/16/17 Page 8 of 17 PageID #:8




          24.   In or around February 27,2016, an event occurred at one of the Infinity facilities,

Continental Nursing and Rehabilitation Center in Chicago, Illinois ("Continental"), where five

(5) residents overdosed on heroin, and they were evacuated to the hospital via 911. Continental

was known in Infinity and the industry at large, as admitting a large number of mentally               ill

patients. The event was carried on the local news channels and created a crisis-like reaction

within Infinity and Infinity PAN.

          25.   The Relater learned that facility personnel were directed to audit all the residents'

charts and that audit found, among other things, that 28 residents were without a screen in their

charts.

          26.   In and around April 2016, Carrie DiPaola, the Vice President of Operations for

Infinity, demanded that the Relator and Elizabeth Roman meet with her and Tammy

McDermand, the Vice President         of Clinical   Services at Infinity,   in a conference room       at


Infinity's headquarters in Hillside, Illinois.

          27. At that meeting,      Carrie DiPaolo said that Elizabeth Roman was very good at

"finding" missing screens and that the 28 screens needed to be "found" by that Tuesday because

that was when the State was going to return to revisit the issue of lack of screens in the 28 files.

          28. The Illinois Department of            Public Health was surveying for regulatory

compliance, after the February overdose event and remained there past April 2016.

          29.   Elizabeth Roman told the Relator that she routinely forged and/or altered screens

in the past for the Defendants, and the reason Carrie DiPaulo asked her to "find" the screens was

because the screens were never there and Elizabeth Roman was expected to create them, by

forgery and/or alteration.
      Case: 1:17-cv-08310 Document #: 1 Filed: 11/16/17 Page 9 of 17 PageID #:9




          30.    Elizabeth Roman admitted to the Relator that she got paid by Infinity to forge

and/or alter screens. The Relator was told, through e-mail,           to approve Elizabeth   Roman's

"bonus." It was a check for $350.00.

          31.    Carrie DiPaulo only answeredto Michael Blisko and is one of Infinity's longest

serving executives. Carrie DiPaulo is known to religiously solicit Michael Blisko and Moishe

Gubin for advice and guidance, and      it is known within Infinity     that she is Michael Blisko's

mouthpiece.

          32.    Elizabeth Roman also admitted to the Relator that Carrie DiPaulo and Elizabeth

Roman forged and/or altered many documents, including screens and medical charts, at facilities

such as City View, Continental and Midway Neurological, and others owned by Gubin and

Blisko.

          33. It was learned by the Relator that Elizabeth Roman's cousin, Salina Rodriguez,
also forged and/or altered records and screens at Infinity facilities, and she received cash bonuses

for said acts.

          34.    Defendants have intentionally and routinely           not properly conducted an
appropriate third-party screening to determine    if nursing home care is appropriate and have
instead forged signatures, or otherwise improperly submitted altered Illinois Department of

Public Aid screening documents and have submitted the forged and/or altered documents to

Medicaid    to improperly obtain public aid. This     practice   is   widespread, and has cost the

government large sums of money. In addition to the statements made to the Relator, the Relator

has independently verified that screening documents submitted to Medicaid have been forged,

altered, was otherwise cut and paste, and/or were not completed by the writers of the certifying

individual signatures.
    Case: 1:17-cv-08310 Document #: 1 Filed: 11/16/17 Page 10 of 17 PageID #:10




        35.     The reason why Elizabeth Roman was instructed to forge and/or alter the screens

was because the Defendants wanted to get paid on residents who would not qualify for nursing

home care; or get paid earlier that they would have had they got a true screen from a third party

entity, in violation of federal and state law.

        36. It was fuither part of their scheme that Defendants converted any fraudulently
obtained payments from public aid to its own benefit and use.

        37.     Relator has made no public disclosure of the facts alleged herein as described in

3l USC $ 3730e(aXA).

        38.     Defendants' knowing, willful and material execution of the fraudulent scheme to

seek public aid reimbursement when          it did not complete   the required screens, and instead

routinely forged and/or altered signatures on the Illinois Department of Public Aid screening

documents and have submitted the forged and/or altered documents to Medicaid to improperly

obtain public aid violates   l8   U.S.C. $$ 1035 (False statements relating to health care matters),

l34i(Frauds and Swindles) and 1347 (Health care fraud) and OBRA.

                                      COUNT I
                    GALSE CLAIMS ACT-PRESENTING FALSE CLAIMS)
                               31 u.S.C. $372e(a)(1XA).

        39.     Relator repeats and realleges paragraphs 1 through 38 of this Complaint as   if fully

set forth herein.

        40.     In performing the acts described above, Defendants, through their own acts       and

through their various officers, directors, agents and/or employees, knowingly presented or caused

to be presented to an agency, officer, or employee of the United States false or fraudulent claims

for payment or approval in violation of the False Claims Act, 3l U.S.C. $$ 3729-3733.




                                                   10
    Case: 1:17-cv-08310 Document #: 1 Filed: 11/16/17 Page 11 of 17 PageID #:11




        41.     Because of Defendants' acts, the United States sustained damages in an amount to

be determined at trial.




                                 COUNT II
    (FALSE CLAIMS ACT.USE OF FALSE RECORDS OR STATEMENTS TO GET
                          FALSE CLAIMS PAID)
                         31 u.S.C. $ 372e (a) (1) (B)

        42.     Relator repeats and realleges paragraphs 1 through 41 of this Complaint as if fully

set forth herein.

         43.    In performing the acts described above, Defendants, through their own acts     and

those   of its various officers, directors, agents and/or employees, knowingly     made, used, or

caused to be made or used false records or statements material to a false or fraudulent claim, to

get false or fraudulent claims paid or approved in violation of the False Claims Act, 31 U,S.C. $$

3729-3733.

         44.    Because   of Defendants' acts, the United    States has sustained damages    in   an


amount to be determined at trial.

                                  COUNT III
        (FALSE CLAIMS ACT-POSSESSION OF THE GOVERNMENT'S MONEY)
                            31 U.S.C.372e (aXlXD)

         45.    Relator repeats and realleges paragraphs 1 through 44 of this Complaint as if fully

set forth herein.

         46.    In performing the acts described above, Defendants, through their own acts and

through its various officers, directors, agents and/or employees, knowingly has or had the

possession, custody, or control of property or money, used or to be used by the Govemment, and

has intended to defraud the United States, in violation of the False Claims     Act,3l   U.S.C.   $$


3729-3733.


                                                 11
    Case: 1:17-cv-08310 Document #: 1 Filed: 11/16/17 Page 12 of 17 PageID #:12




        47.     Because   of Defendants' acts, the United   States has sustained damages      in   an


amount to be determined at trial.




                                  COUNT IV
              (FALSE CLAIMS ACT.PAYMENT UNDER MISTAKE OF TACT)

        48.     Relator repeats and realleges paragraphs 1 through 47 of this Complaint as   if fully

set forth herein.

        49.     The United States made payments in response to Defendants' claims under the

erroneous belief that the records, statements, and amounts upon which Defendants' claims were

based were true, correct and proper.

        50.     The United States' erroneous beliefs were material to the payments made by the

United States to Defendants.

        51.     Because of these mistakes of fact, the United States paid Defendants money to

which they were not entitled.

        52. By reason of these payments, the United States has suffered damages in an
amount to be determined at trial.

                                          COUNT V
                                    (UNJUST ENRICHMENT)

        53.     Relator repeats and realleges paragraphs I through 52 of this Complaint as if fully

set forth herein.

         54.    Because   of    Defendants' improper conduct, Defendants have been unjustly

enriched with monies which in good conscience they should not be allowed to retain.

        55.     Defendants have been unjustly enriched to the detriment of the United States, and

the United States is entitled to damages in an amount to be determined at trial.



                                                 t2
    Case: 1:17-cv-08310 Document #: 1 Filed: 11/16/17 Page 13 of 17 PageID #:13




                                     COUNT VI
              (ILLINOIS FALSE CLAIMS ACT.PRESENTING FALSE CLAIMS)
                              740ILCS $ r7sl1 (3Xa)(1) (A)

        56.     Relator repeats and realleges paragraphs   I through 55 of this Complaint as if fully

set forth herein.

        57.     In performing the acts described above, Defendants, through their own acts and

through their various officers, directors, agents and/or employees, knowingly presented or caused

to be presented to an agency, officer, or employee of the State of Illinois false or fraudulent

claims for payment or approval in violation of the Illinois False Claims Act, formerly known as

the Illinois Whistleblower Reward and Protection Act,740ILCS 17511 et seq.

        58.     Because   of Defendants' acts, the State of Illinois has sustained damages in         an


amount to be determined at trial.

                               COUNT VII
 (ILLINOIS FALSE CLAIMS ACT. USE OF FALSE RECORDS OR STATEMENTS TO
                        GET FALSE CLAIMS PAID)
                        740ILCS $ l7sl1 (3XaXl) (B)

        59.     Relator repeats and realleges paragraphs   I through   58 of this Complaint as   if fully

set forth herein.

        60.     In performing the acts described above, Defendants, through their own acts           and


those of their various officers, directors, agents and/or employees, knowingly made, used, or

caused to be made or used false records or statements material to a false or fraudulent claim, to

get a false or fraudulent claim paid or approved in violation of the Illinois False Claims AcL




                                                13
       Case: 1:17-cv-08310 Document #: 1 Filed: 11/16/17 Page 14 of 17 PageID #:14




formerly known as the Illinois Whistleblower Reward and Protection Act,740 ILCS           l75ll   et

seq.


         61.    Because   of Defendants' acts, the State of Illinois has sustained damages in     an


amount to be determined at trial.

                                     COUNT VIII
                      (ILLINOIS FALSE CLAIMS ACT. POSSESSION
                           OF THE GOVERNMENT'S MONEY)
                               740ILCS S 17sl1 (3XaXl) (D)

         62.    Relator repeats and realleges paragraphs 1 through 61 of this Complaint as if fully

set forth herein.

          63.   In performing the acts described above, Defendants, through their own acts      and


through their various officers, directors, agents and/or employees, knowingly has or had the

possession, custody, or control of property or money, used or to be used by the State   of Illinois,

and has intended to defraud the State of Illinois, in violation of the Illinois False Claims Act,

formerly known as the Illinois Whistleblower Reward and Protection Act, 740 ILCS 17511 et

seq.


          64.   Because of Defendantds' acts, the State of Illinois has sustained damages in an

amount to be determined at trial.

                                   COUNT IX
         (ILLINOIS FALSE CLAIMS ACT-PAYMENT UNDER MISTAKE OF FACT)

          65.   Relator repeats and realleges paragraphs 1 through 64 of this Complaint as if fully

set forth herein.

          66.   The State of Illinois made payments in response to Defendants' claims under the

erroneous belief that the records, statements, and amounts upon which Defendants claims were

based were true, correct and proper.



                                                 t4
    Case: 1:17-cv-08310 Document #: 1 Filed: 11/16/17 Page 15 of 17 PageID #:15




        67   .   The State of Illinois' erroneous beliefs were material to the payments made by the

State of   Illinois to Defendants.

        68.      Because   of these mistakes of fact, the State of Illinois paid Defendants money to

which they were not entitled.

           69.    By reason of these payments, the State of Illinois has suffered damages in         an


amount to be determined at trial.

                                            COUNT X
                                      (UNJUST ENRICHMENT)

           70.    Relator repeats and realleges paragraphs    I through 69 of this Complaint as if fully

set forth herein.

           71.    Because    of   Defendants' improper conduct Defendants have been unjustly

enriched with monies which in good conscience they should not be allowed to retain.

           72.    Defendants have been unjustly enriched to the detriment of the State of Illinois

and the State of    Illinois is entitled to damages in an amount to be determined at trial.

                                        PRAYER FOR RELIEF

           WHEREFORE, Plaintiff UNITED STATES OF AMERICA and STATE OF ILLINOIS,

by the Relator, SHANNAN BYBEE, respectfully request that this Court enter judgment against

Defendants CONTINENTAL NURSING AND REHABILITATION CENTER, LLC; INFINITY

HEALTHCARE MANAGEMENT OF ILLINOIS LLC; MIDWAY NEUROLOGICAL AND

REHABILITATION CENTER, LLC, CITY VIEW MULTICARE CENTER, LLC, MOISHE

GUBIN and MICHAEL BLISKO as follows:

                                       AS TO COUNTS I THROUGH V

           a.       That the United States be awarded damages in the amount of three times the

damages sustained by the United States because            of the false claims and fraud alleged in   the


                                                     15
    Case: 1:17-cv-08310 Document #: 1 Filed: 11/16/17 Page 16 of 17 PageID #:16




Complaint, as the False Claims Act,    3l U.S.C. 5 3729 et. seq., and all other amounts provided by

the False Claims Act, plus costs;

       b.      That civil penalties of $5,000 to $10,000 be imposed for each and every false

      that Defendants presented or caused to be presented to the United States;

       c.      That pre-and post-judgment interest be awarded, along with reasonable attorneys'

fees costs, and expenses which Relator necessarily incurred in bringing and pressing this case;

       d.      That the Relator be awarded the maximum amounts allowed pursuant to the False

Claims Act;

               That Defendants be ordered to repay all sums wrongfully obtained or paid;

               Under Count V, for damages in an amount to be determined at trial, plus

        and costs;

        o
        b'     For all other relief to which the United States may be entitled; and

        h.     For such other and fuither relief as this Court deems just and proper'

                                    AS TO COUNTS VI THROUGH X

        a.     That the State of Illinois be awarded damages in the amount of three times the

damages sustained by the State of Illinois because of the false claims and fraud alleged in the

Complaint, as Illinois False Claims Act, formerly known as the Illinois Whistleblower Reward

and Protection Act, 740 ILCS 175ll et seq., and all other amounts provided by the False Claims

Act, plus costs;

        b.     That civil penalties of $5,500 to $11,000 be imposed for each and every false

claim that Defendants presented or caused to be presented;

        c.         That pre-and post-judgment interest be awarded, along with reasonable attorneys'

fees costs, and expenses which Relator necessarily incurred in bringing and pressing this case;



                                                   t6
t       Case: 1:17-cv-08310 Document #: 1 Filed: 11/16/17 Page 17 of 17 PageID #:17




           d.       That the Relator be awarded the maximum amounts allowed pursuant to the

Illinois False Claims Act, formerly known         as the    Illinois Whistleblower Reward and Protection

    Act,740ILCS l75ll     et seq.;

            e.      That Defendants be ordered to repay all sums wrongfully obtained or paid;

            f.      Under Count X, for damages in an amount to be determined at trial, plus

    interest and costs;

            g.      For all other relief to which the State of Illinois may be entifled; and

            h.      For such other and furttrer relief as this Court deems just and proper.

                                             JURY DEMAND

            Relator hereby demands a tial by jury on all claims, pursuant to Rule 38 of the Federal

    Rules of Civil Procedure.

    Dated: November 16, 2017                        Respectfu   lly submitted,

                                                    Relator, SHAI\INAN MARIE BYBEE



                                                             Alon Stein, One Of Her Attorneys

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